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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:17CR304

       vs.
                                                                        ORDER
OMAR VAZQUEZ ALDERETE,

                       Defendant.


       This matter is before the court on defendant's UNOPPOSED MOTION TO EXTEND
TIME TO FILE PRETRIAL MOTIONS [23]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 30-day extension. Pretrial
Motions shall be filed by February 20, 2018.


       IT IS ORDERED:
       1.      Defendant's UNOPPOSED MOTION TO EXTEND TIME TO FILE PRETRIAL
MOTIONS [23] is granted. Pretrial motions shall be filed on or before February 20, 2018.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between January 19, 2018, and February 20, 2018,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel required additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).


       Dated this 22nd day of January, 2018.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge
